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                                                                                                                 CO-386
                                                                                                                 10/2018


                                   United States District Court
                                   For the District of Columbia
                                                    )
National Public Radio, Inc., et al.                 )
                                                    )
                                                    )
                                     Plaintiff      )                          25-1674
                                                             Civil Action No._______________________
                       vs
                                                    )
Donald J. Trump, et al.                             )
                                                    )
                                                    )
                                    Defendant       )


                                                 CERTIFICATE RULE LCvR 26.1

                                           National Public Radio, Inc.
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

                                                                           National Public Radio, Inc.
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  N/A.




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                                /s Miguel A. Estrada
                                                               _______________________________________
                                                               Signature

 456289
________________________________________                       Miguel A. Estrada
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               1700 M Street N.W.
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                                                               Address

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